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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO: 22-CV-81294-AMC

  DONALD J. TRUMP,

        Plaintiff,

        v.

  UNITED STATES OF AMERICA,

        Defendant.
  _______________________________/

                        MOTION TO FILE PRIVILEGE REVIEW TEAM
                       LETTER DATED OCTOBER 5, 2022, UNDER SEAL

          The United States of America, through the undersigned attorneys assigned to its Privilege

  Review Team, respectfully move this Court to file under seal a Privilege Review Team letter that

  was transmitted to the Special Master and Plaintiff’s counsel on October 5, 2022. [1] The Privilege

  Review Team letter should be sealed because it refers, in part, to documents that have been

  designated potentially privileged. See DE:91 at ¶ 9 (directing Special Master to file under seal any

  potentially privileged . . . material that is submitted to be filed under seal).

          WHEREFORE, the United States respectfully request permission to file this letter under




          [1]
           The United States consulted with Plaintiff’s counsel. On October 7, 2022, and Plaintiff’s
  counsel agreed the letter should be filed under seal.
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  seal for preservation in the record.

                                               Respectfully submitted,

                                               JUAN ANTONIO GONZALEZ
                                               UNITED STATES ATTORNEY


                                           By: /s/Anthony W. Lacosta
                                               Anthony W. Lacosta
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                                                 /s/Benjamin J. Hawk_____________
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                                   CERTIFICATE OF SERVICE
          I HEREBY CERTFIY that on October 11, 2022, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record via transmission of Notices of Electronic Filing
  generated by CM/ECF.
                                                 /s/Anthony W. Lacosta
                                                 Anthony W. Lacosta
                                                 Managing Assistant United States Attorney - WPB
